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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0303V
                                     Filed: October 2, 2017
                                         UNPUBLISHED


    LORA BELLE BROWN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Uncontested;
    v.                                                       Causation-In-Fact; Pneumococcal
                                                             Conjugate Vaccine; Shoulder Injury
    SECRETARY OF HEALTH AND                                  Related to Vaccine Administration
    HUMAN SERVICES,                                          (SIRVA)

                       Respondent.


Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Lara A. Englund, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On March 3, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a Prevnar 13 pneumococcal conjugate vaccine
administered to her on September 3, 2015. Petition at 1. The case was assigned to the
Special Processing Unit (“SPU”) of the Office of Special Masters.

      On October 2, 2017, respondent filed his Rule 4(c) Report in which he states that
he does not contest that petitioner is entitled to compensation in this case. Resp’t’s


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Rule 4(c) Rep. at 1. Specifically, respondent states that petitioner’s alleged injury is
consistent with a SIRVA, and that it was caused-in-fact by the administration of her
September 3, 2015 pneumococcal vaccination. Id. at 4-5. Further, respondent did not
identify any other causes for petitioner’s SIRVA, and records show that petitioner
suffered her condition for more than six months. Id. at 5. Therefore, based on the
current record, petitioner has satisfied all legal prerequisites for compensation under the
Vaccine Act. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
